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 8                            IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10
       LAURA OLIVER                                  )   Case No.: 3:16-cv-01915-JAH-BGS
11                                                   )
                                                     )   ORDER GRANTING JOINT MOTION
12                       Plaintiff,                  )   TO DISMISS WITH PREJUDICE
                                                     )   PURSUANT TO FED. R. CIV. PROC.
13              v.                                   )   41(a)(1)(A)(ii)
                                                     )
14                                                   )   Judge: Hon. John A. Houston
       PORTFOLIO RECOVERY                            )
15     ASSOCIATES, LLC,                              )   Magistrate Judge: Hon. Bernard G. Skomal
                                                     )
16                       Defendant.                  )
17              The Parties have filed a Joint Motion to Dismiss With Prejudice Pursuant to
18     Fed. R. Civ. Proc. 41(a)(1)(A)(ii). Good cause appearing, the Court GRANTS the
19     Parties’ joint motion to dismiss and this action is hereby dismissed with prejudice
20     in its entirety. Each party shall bear their/its own attorneys’ fees and costs.
21              IT IS SO ORDERED.
22

23     DATED:           July 23, 2018
                                                         HONORABLE JOHN A. HOUSTON
24                                                       United States District Court Judge
                                                         Southern District of California
25




                                      ORDER GRANTING JOINT MOTION TO DISMISS

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